Case 2:00-cr-00007-FPS-JES Document 977 Filed 05/12/05 Page 1 of 10 PageID #: 1901



                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  SHAUN HARRIS,

               Petitioner,

  v.                                                 Civil Action No. 2:04CV6
                                             (Criminal Action No. 2:00CR7-14)
  UNITED STATES OF AMERICA,                                           (STAMP)

               Respondent.


                       ORDER AFFIRMING AND ADOPTING
               MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

                              I.   Procedural History

        On    January   13,    2004,   pro    se   petitioner,   Shaun   Harris

  (“Harris”), filed a motion to vacate, set aside or correct sentence

  pursuant to 28 U.S.C. § 2255, and a motion for leave to file an

  amended motion pursuant to § 2255. This Court referred the case to

  United States Magistrate Judge John S. Kaull, pursuant to 28 U.S.C.

  §§ 636(b)(1)(A) and (B), to recommend disposition of this matter.

        On January 27, 2004, the magistrate judge entered an order

  directing the clerk to file the petitioner’s § 2255, and granting

  the petitioner’s request to file an amended § 2255. The petitioner

  then filed an amended § 2255 on February 18, 2004, to which the

  magistrate judge ordered the United States to respond.              The United

  States filed a response, and the petitioner requested an extension

  of time to reply, which was granted.                  On June 14, 2004, the

  petitioner    filed   “Movant’s      Statement   of    Undisputed   Issues   of

  Material Fact” as well as a reply in support of his § 2255

  petition.
Case 2:00-cr-00007-FPS-JES Document 977 Filed 05/12/05 Page 2 of 10 PageID #: 1902



           On December 23, 2004, Magistrate Judge Kaull issued a report

  and recommendation stating that the petitioner’s motion should be

  denied.      The magistrate judge informed the petitioner that if he

  objected to any portion of the recommendation for disposition, he

  must file written objections within ten days after being served

  with a copy of the recommendation.              The petitioner filed a motion

  to extend time to object to the report and recommendation, which

  was granted.      The petitioner then filed an objection to the report

  and recommendation on January 27, 2005.

           Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must conduct

  a   de    novo   review   of   any    portion       of   the   magistrate   judge’s

  recommendation to which objection is made. As to those portions of

  a recommendation to which no objection is made, a magistrate

  judge’s findings and recommendation will be upheld unless they are

  “clearly erroneous.”           Because objections have been filed, this

  Court has made an independent de novo consideration of all matters

  now before it, and is of the opinion that the magistrate judge’s

  report and recommendation should be affirmed and adopted in its

  entirety.

                                       II.    Facts

           On May 11, 2001, the petitioner was found guilty by a jury in

  the Northern District of West Virginia of five separate counts of

  a   multi-defendant       criminal         indictment.         Specifically,   the

  petitioner       was   found   guilty      of   participating      in   a   cocaine

  conspiracy in violation of 21 U.S.C. § 846, aiding and abetting



                                              2
Case 2:00-cr-00007-FPS-JES Document 977 Filed 05/12/05 Page 3 of 10 PageID #: 1903



  distribution     of   crack    cocaine       on   two   separate   occasions   in

  violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2, distributing

  crack cocaine in violation of 21 U.S.C. § 841(a)(1) and for

  possessing crack cocaine with intent to distribute in violation of

  21 U.S.C. § 841(a)(1).

        On   January    30,     2002,   the     petitioner    appeared   for     his

  sentencing hearing, and this Court found that the petitioner had a

  base offense level of 34 and a criminal history category of III.

  This Court then found that the petitioner was a career offender

  warranting an offense level of 37 pursuant to U.S.S.G. § 4B1.1(b).

  After referring to the Guidelines, this Court determined the

  petitioner’s sentencing range to be 360 months to life.                The Court

  then sentenced the petitioner to 360 months on each count to be

  served concurrently.

                                 III.   Discussion

        In his § 2255 motion, the petitioner’s basic assertion is that

  he had ineffective assistance of counsel. In advancing this claim,

  the petitioner argues that: (1) his counsel failed to properly

  challenged the career offender determination which the petitioner

  argues was improperly based on drug quantity omitted from Count One

  of the second superceding indictment, (2) his counsel failed to

  move for an acquittal, (3) his counsel failed to advise the

  petitioner of his constitutional right to testify during his trial,

  and (4) his counsel failed to challenge the career offender

  determination on the ground that the petitioner’s 1997 prior



                                           3
Case 2:00-cr-00007-FPS-JES Document 977 Filed 05/12/05 Page 4 of 10 PageID #: 1904



  conviction was not complete at the time of the alleged commencement

  of   the   conspiracy        charged     in    Count    One.         In   addition,    the

  petitioner requested an evidentiary hearing, additional discovery

  and appointment of new counsel.

         After evaluating the petitioner’s claims, the magistrate judge

  entered a report and recommendation in which he made the following

  findings:       (1)    the        petitioner’s        claim    that       his   attorney

  ineffectively represented him by failing to properly challenge the

  career     offender        enhancement    was       without    merit      because     drug

  quantities were properly before the jury through the indictment’s

  reference to 21 U.S.C. § 841(b)(1)(A)(iii) which includes drug

  weight     as   an    element       of   the       offense,    and    because   special

  interrogatories were used in the verdict form by which the jury

  determined the drug quantity involved; (2) the petitioner’s claim

  that his attorney ineffectively represented him by failing to file

  a motion for judgment of acquittal must fail because the motion was

  unlikely to succeed in light of the Fourth Circuit’s finding on

  appeal that substantial evidence supported Harris’s conviction for

  conspiracy, United States v. Harris, 45 Fed. Appx. 302, 303 (4th

  Cir.     2002);      (3)    the    petitioner’s        claim    that      his   attorney

  ineffectively represented him by failing to advise him of the right

  to testify must fail because the petitioner provides no information

  as to the substance of his testimony or how such testimony would

  have changed the jury verdict; (4) the petitioner’s claim that his

  attorney ineffectively represented him by failing to challenge the



                                                 4
Case 2:00-cr-00007-FPS-JES Document 977 Filed 05/12/05 Page 5 of 10 PageID #: 1905



  career offender enhancement on the basis that his 1997 conviction

  was not complete also fails in light of the Fourth Circuit’s

  determination that challenges to petitioner’s career offender

  enhancement were meritless; and (5) the petitioner is not entitled

  to an evidentiary hearing, discovery or appointment of counsel

  because the evidence before the magistrate judge conclusively

  showed that the petitioner was entitled to no relief.

        In his objection, the petitioner claims that the magistrate

  judge erred by not considering the petitioner’s claim pursuant to

  the Supreme Court’s opinion in United States v. Booker, 125 S. Ct.

  1006 (2005). The petitioner argues that Booker amounts to an

  intervening change in the law, and therefore, should be applied to

  amend or vacate his sentence.         In addition, the petitioner argues

  that the magistrate judge failed to appropriately consider each of

  his previous arguments.

        1.     Booker Not Retroactive

        In Booker, the Court applied its holding in Blakely v.

  Washington, 124 S. Ct. 2531 (2004), to the United States Sentencing

  Guidelines, affirming that the Sixth Amendment forbids judges from

  sentencing     a   defendant    beyond   the   statutory   maximum     that   is

  applicable based on facts found by a jury or admitted by the

  defendant.     Booker at 746; see Blakely at 2537.         The Court failed

  to   address   in    Booker    whether   its   holding   should   be   applied

  retroactively       on   collateral   challenges.    However,     this   Court




                                           5
Case 2:00-cr-00007-FPS-JES Document 977 Filed 05/12/05 Page 6 of 10 PageID #: 1906



  concludes that under Teague v. Lane, 489 U.S. 288 (1989), Booker

  must not be applied retroactively under these circumstances.

          Teague states that “new constitutional rules of criminal

  procedure will not be applicable to those cases which have become

  final     before   the   new   rules   are    announced.”      Id.   at   310.

  Accordingly, a petitioner cannot retroactively incorporate new

  constitutional      decisions    of    criminal    procedure    unless    the

  petitioner demonstrates exceptional reasons why such incorporation

  is necessary.      Id. at 306-309.         Pursuant to Teague, the Fourth

  Circuit has determined that Apprendi and any case that extends the

  reasoning of Apprendi should not be applied retroactively on

  collateral review. See United States v. Sanders, 247 F.3d 139, 150

  (4th Cir. 2001).         Thus, Booker, which follows Apprendi and its

  progeny, does not apply retroactively to cases on collateral

  review.      See McReynolds v. United States, 397 F.3d 479 (7th Cir.

  2005); Green v. United States, 397 F.3d 101 (2d Cir. 2005); In re

  Anderson, 396 F.3d 1336 (11th Cir. 2005).           Thus, the petitioner’s

  first and second objections must fail.

          2.   Petitioner’s Enhancement Arguments Without Merit

          This Court also finds the petitioner’s objections reasserting

  his original § 2255 arguments to be without merit.              First, this

  Court agrees with the magistrate judge that the petitioner has

  failed to satisfy the two pronged analysis provided by Strickland

  v. Washington, 466 U.S. 668 (1984), to establish a right to an

  amended sentence or new trial based upon ineffective assistance of



                                         6
Case 2:00-cr-00007-FPS-JES Document 977 Filed 05/12/05 Page 7 of 10 PageID #: 1907



  counsel.       Id. at 687 (providing that defendant must first show

  counsel’s performance fell below an objective standard and next

  show    that    the    defendant   was       prejudiced    by   the   counsel’s

  performance).         As stated above, the petitioner argues that his

  counsel was ineffective because he did not properly challenge this

  Court’s career offender enhancement.             The petitioner essentially

  makes two arguments regarding his enhancement: (1) Harris contends

  his counsel should have challenged the fact that drug quantity was

  omitted from Count One of the second superceding indictment and not

  before the jury; and (2) Harris contends his counsel should have

  challenged the fact that his 1997 prior conviction was not complete

  at the time the conspiracy allegedly began.               Both arguments fail.

         First, as the magistrate judge notes, the Fourth Circuit

  reviewed the petitioner’s case on direct appeal and found Harris’s

  enhancement and ultimate sentence to be appropriate.                  Harris at

  303.    Specifically, the court found “the Apprendi claim baseless

  because his sentence was below the applicable statutory maximum.”

  Id.    Second, the applicable drug amounts were properly before the

  jury before the verdict was entered, and attributable drug weight

  was determined by the jury.         As the magistrate judge notes, the

  indictment references 21 U.S.C. § 841(b)(1)(A)(iii), which has as

  an element “50 grams or more of” cocaine base.              Further, the jury

  was presented a special interrogatory regarding drug amount and

  specifically found that the petitioner’s crime involved “fifty

  grams or more of cocaine base also known as ‘crack.’”                   Special



                                           7
Case 2:00-cr-00007-FPS-JES Document 977 Filed 05/12/05 Page 8 of 10 PageID #: 1908



  Interrogatory,     Docket   No.    524.     This    Court    agrees    with   the

  magistrate judge that the petitioner was sufficiently put on notice

  of the alleged drug quantity by the particular offense charged and

  by the special interrogatory.           See United States v. Vazquez, 271

  F.3d 93, 114 (3d Cir. 2001)(Becker, J., concurring)(Ambero, J.,

  joining)(recognizing interrogatories as a preferred method for

  presenting threshold drug quantity to a jury).                In summary, the

  petitioner’s     enhancement      was   appropriate,   and    therefore,      the

  petitioner’s counsel was not ineffective in not challenging the

  enhancement.

        3.    Petitioner’s Judgment of Acquittal Argument Fails

        As stated above, the petitioner argues that evidence at trial

  established    conspiracies    different     than    those    pleaded    in   the

  indictment.     However, the petitioner has already argued on direct

  appeal that the United States proved multiple conspiracies instead

  of the single conspiracy charged in the indictment. On appeal, the

  Fourth Circuit found that “substantial evidence, when viewed in the

  light most favorable to the Government, supports Harris’ conviction

  for the conspiracy to distribute cocaine base charged in the

  indictment.”     Harris at 303.         As the magistrate notes, the fact

  that the Fourth Circuit affirmed the petitioner’s conspiracy charge

  indicates that a motion for judgment of acquittal would have been

  denied.    Therefore, counsel’s failure to file such a motion does

  not constitute ineffective assistance of counsel.                     See United

  States v. Wilkes, 20 F.3d 651, 653 (5th Cir. 1994).



                                          8
Case 2:00-cr-00007-FPS-JES Document 977 Filed 05/12/05 Page 9 of 10 PageID #: 1909



        4.     Petitioner’s Right to Testify Argument Without Merit

        As stated above, petitioner argues he was not given an

  opportunity by his counsel to testify, but the petitioner offers no

  evidence or argument as to how such testimony would have changed

  the jury’s finding of guilt beyond a reasonable doubt.                   The

  petitioner must establish that he was prejudiced by his attorney’s

  advice not to testify in order for this Court to find ineffective

  assistance of counsel.       See United States v. Terry, 366 F.3d 312,

  318 (4th Cir. 2004).        He has not done so, and this objection must

  be denied.

        5.     Evidentiary Hearing, Discovery and Appointment of Counsel

  Not Warranted

        Because the petitioner has failed to establish that he is

  entitled to relief, this Court agrees with the magistrate judge

  that the petitioner is not entitled to an evidentiary hearing,

  additional discovery or appointment of counsel.              See 28 U.S.C.

  § 2255; United States v. Roane, 378 F.3d 382, 403 (4th Cir.

  2004)(petitioner     must    demonstrate   he   is   entitled   to   relief);

  Pennsylvania v. Finley, 481 U.S. 551 (1987)(appointment of counsel

  in post-conviction proceedings discretionary).

                                 IV.   Conclusion

        Because, after a de novo review, this Court concludes that the

  magistrate judge’s recommendation is proper and the petitioner’s

  objection to the report and recommendation lacks merit, and because

  the remaining findings are not clearly erroneous, this Court hereby



                                         9
Case 2:00-cr-00007-FPS-JES Document 977 Filed 05/12/05 Page 10 of 10 PageID #: 1910



   ACCEPTS and ADOPTS the magistrate judge’s report and recommendation

   in its entirety.     Accordingly, the petitioner’s § 2255 motion is

   DENIED and this civil action is hereby DISMISSED and STRICKEN from

   the active docket of this Court.

         Should the petitioner choose to appeal the judgment of this

   Court to the United States Court of Appeals for the Fourth Circuit,

   he is ADVISED that he must file a notice of appeal with the Clerk

   of this Court within 30 days after the date of the entry of the

   judgment order.     Upon reviewing the notice of appeal, this Court

   will either issue a certificate of appealability or state why a

   certificate should not issue in accordance with Federal Rule of

   Appellate   Procedure    22(b)(1).        If   this   Court   should   deny   a

   certification, the petitioner may request a circuit judge of the

   United States Court of Appeals for the Fourth Circuit to issue the

   certificate.

         IT IS SO ORDERED.

         The Clerk is DIRECTED to transmit copies of this order to the

   petitioner and to counsel of record herein.             Pursuant to Federal

   Rule of Civil Procedure 58, the Clerk is DIRECTED to enter judgment

   on this matter.

         DATED:      May 12, 2005



                                      /s/ Frederick P. Stamp, Jr.
                                      FREDERICK P. STAMP, JR.
                                      UNITED STATES DISTRICT JUDGE




                                        10
